        Case 1:22-cv-10202-JGD Document 163 Filed 08/15/24 Page 1 of 1




                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS

MARGARET CZERWIENSKI,               )
LILIA KILBURN and                   )
AMULYA MANDAVA,                     )
                                    )
                 Plaintiffs,        )              CIVIL ACTION NO. 22-10202-JGD
v.                                  )
                                    )
HARVARD UNIVERSITY and              )
THE PRESIDENT AND FELLOWS           )
OF HARVARD COLLEGE,                 )
                                    )
                 Defendants.        )


                                  ORDER OF DISMISSAL

DEIN, U.S.M.J.

       IT IS ORDERED that this action is hereby dismissed with prejudice and without costs.



                                                   / s / Judith Gail Dein
                                                   Judith Gail Dein
Dated: August 15, 2024                             United States Magistrate Judge
